             Case 3:18-cv-01063-JWD-EWD                   Document 99-6           04/27/22       Page 1 of 6


Podsiadlo, Kathryn

From:                Podsiadlo, Kathryn
Sent:                Friday, January 28, 2022 9:25 AM
To:                  'Michael Gallant'; John Dalimonte
Cc:                  Brown, Arthur E.; zzz.External.diana.surprenant@arlaw.com;
                     zzz.External.paige.sensenbrenner@arlaw.com; grant.guillot@arlaw.com; Chris Coffin; John Restaino;
                     Douglas, Matthew J.; du Pont, Julie K.; zzz.External.allyson.emley@icemiller.com;
                     zzz.External.katherine.althoff@icemiller.com; Cousins, Alexander; Boyd, Adrienne
Subject:             RE: Service of expert reports
Attachments:         1.21.22 - Pathology Group of Louisiana HIPPA Authorization.pdf

Follow Up Flag:      Follow up
Flag Status:         Completed


John and Mike,

Today marks a week since I contacted you with reasonable requests in response to the expert reports you served on
January 14. Please respond to this email by Monday.

To reiterate, here are categories of information we need from you:

Deposition dates:
Please provide deposition dates for all of your experts. Please confirm that you will produce Dr. Mjones for a deposition
‐ it is critical for us to understand your position on this given that you did not disclose Dr. Mjones as an expert. We need
an answer to this no later than Monday.

Related to depositions, can we agree to conduct all expert depositions (plaintiff and defense) by Zoom? Can we also
agree that any attorney who defends an expert deposition in person will be on camera?

Authorization for Mr. Baudin’s pathology:
While we’ve previously obtained Mr. Baudin’s pathology for expert review back in late 2020, all but one authorization
has expired so we need you to sign the attached authorization. This request should not reasonably take a week. Please
return it to us no later than Monday.

Pathology slides from Dr. Mjones:
Dr. Mjones indicated that she stained two separate samples of Mr. Baudin’s pathology, as described below. The picture
embedded in Dr. Waldum’s report is not sufficient for our expert to review. Our pathology expert is entitled to review
the samples Dr. Mjones stained. Please confirm you or Dr. Mjones will ship them to Albert Cora at the address below
early next week.

Expert materials:
To reiterate, we have several requests relating to your expert reports that require either (1) clarification from you or (2)
production of underlying materials. I clarified the question you had with respect to Dr. Abrouk on Wednesday (see
below). We need to understand your position on these requests by Monday. We cannot reasonably have our experts
evaluate the opinions of your experts without access to certain underlying materials or answers to our questions as
detailed below. We are happy to clarify any other requests to the extent such is necessary.

New request ‐ clarification on company documents:


                                                              1
                                                                                                              EXHIBIT 5
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We and our vendor have been unable to locate several documents cited by your experts. It very well may be that a digit
is missing in the Bates, but we will need clarification from you to ensure we and our experts can review all documents
yours are relying upon. I will send this list once compiled today or Monday, but wanted to preview the issue now.

Again, happy to discuss or clarify any of these requests. Thanks in advance for your cooperation and have a nice
weekend.

Thanks,
Kathryn




From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Wednesday, January 26, 2022 11:59 AM
To: 'Michael Gallant' <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Boyd, Adrienne
<Adrienne.Boyd@arnoldporter.com>
Subject: RE: Service of expert reports

Hi Mike,

We realize that the underlying data is from AZ’s Sapphire database. However, for each figure and table in section 11 of
Dr. Abrouk’s report, we need to know the specific cases he used and the specific data points he entered with respect to
each case. Therefore, we need the underlying data/commands/native files he input into the “R‐software” and any
output files. Please confirm you will produce these files.

Additionally, can you please provide an update on the other items below? Most of these should be pretty easy to
address. Happy to discuss.

Thanks,
Kathryn




From: Michael Gallant <michael.gallant@drlawllp.com>
Sent: Wednesday, January 26, 2022 11:32 AM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K. <Julie.duPont@arnoldporter.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>
Subject: Re: Service of expert reports

External E‐mail
                                                            2
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Kathryn,

Concerning your request for "the underlying program/data files he used to create the figures and tables in
section 11 (e.g., Excel, Stata files or some other statistical program)," we confirmed that the underlying data
used in Section 11 of Dr. Abrouk's report can be found in AstraZeneca's production of the Sapphire database
(AZ-STOMA-00032685), and that "R-software" was used to analyze the data.

Mike

Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android

From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Monday, January 24, 2022 3:01:27 PM
To: John Dalimonte <john@drlawllp.com>; Michael Gallant <michael.gallant@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com <grant.guillot@arlaw.com>; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino
<restaino@drlawllp.com>; Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>
Subject: RE: Service of expert reports



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Hi Mike,

Nice chatting earlier.

To clarify our request with respect to Dr. Abrouk’s report, we are requesting the underlying program/data files he used
to create the figures and tables in section 11 (e.g., Excel, Stata files or some other statistical program).

Please let me know if you need anything else.

Thanks,
Kathryn



From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Friday, January 21, 2022 2:27 PM
To: 'John Dalimonte' <john@drlawllp.com>
Cc: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>; zzz.External.diana.surprenant@arlaw.com
<diana.surprenant@arlaw.com>; zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>;
grant.guillot@arlaw.com; Chris Coffin <ccoffin@pbclawfirm.com>; John Restaino <restaino@drlawllp.com>; Douglas,
Matthew J. <Matthew.Douglas@arnoldporter.com>; Michael Gallant <michael.gallant@drlawllp.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
zzz.External.katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>
Subject: RE: Service of expert reports


                                                            3
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Hi John,

We’ve reviewed your expert reports and have several requests relating to them, discussed in turn:

Deposition Dates:

The report of Dr. Waldum makes clear that he is relying on a separate expert, Dr. Mjones, who provided a report to Dr.
Waldum. Please provide deposition dates for all retained experts listed in your designation as well as a date for Dr.
Mjones. As far as priority and timing, we would like to depose Dr. Mjones and Dr. Abrouk on or before February 18,
2022.

Pathology Slides/Stains from Dr. Mjones

In her report, Dr. Mjones states that she stained two separate samples of Mr. Baudin’s pathology. (Waldum Report,
Appendix A at 1, 3). The one photograph that Dr. Mjones provided in Appendix A is not sufficient, and AZ’s expert is
entitled to review the actual pathology specimens that Dr. Mjones stained. Please produce the samples she stained for
our pathologist’s review as soon as possible. They can be sent to:

Arnold & Porter LLP
Attention: Albert Cora
250 W 55th St.
New York, NY 10019
Phone: 212‐836‐7436
Email: Albert.Cora@arnoldporter.com

Pathology Authorizations

While we previously obtained Mr. Baudin’s pathology for expert review, all but one authorization has expired. Attached
here is an updated authorization for review and signature. Please return it to us as soon as possible given the deadlines.

Dr. Waldum

Dr. Waldum states on page 142 of his report that “Gastrin in blood taken after the operation while taking Nexium 40 mg
daily as before were 213 pg/mL (normal > 100 pg/ml).” Dr. Waldum does not cite a specific medical record for this
statement, and we have been unable to locate any medical record with this, or any, serum gastrin level.

Please provide a citation to the medical record that contains this information. If no such medical record exists, please
produce whatever Dr. Waldum is relying on for this statement.

Dr. Hrushesky

We did not receive a reliance list for Dr. Hrushesky. Please confirm that all of the materials Dr. Hrushesky is relying upon
for his opinions are contained within the body of his expert report. If he is relying on materials beyond those cited in his
expert report, please provide us with a reliance list as soon as possible.

Dr. Abrouk

Please provide all underlying data and calculations for Dr. Abrouk’s analyses described in Section 11 of his report,
including the specific data used to create each table and figure in that section.

Dr. Sharlin


                                                             4
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Please provide all underlying data used to create Table 5 in Dr. Sharlin’s report, including each Sapphire Case_ID and
FAERS Mfr_Num (if identified) for gastric cancer adverse events reflected in the middle two columns of Table 5.

Thanks in advance. Have a nice weekend!

Thanks,
Kathryn



From: John Dalimonte <john@drlawllp.com>
Sent: Friday, January 14, 2022 10:00 PM
To: Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>; John Restaino <restaino@drlawllp.com>; Michael
Gallant <michael.gallant@drlawllp.com>
Cc: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
zzz.External.diana.surprenant@arlaw.com <diana.surprenant@arlaw.com>;
zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>; grant.guillot@arlaw.com; Chris
Coffin <ccoffin@pbclawfirm.com>; Stan Baudin <sbaudin@pbclawfirm.com>
Subject: RE: Service of expert reports

 External E‐mail

Matt,

Attached please find Plaintiff’s Rule 26 Expert Disclosures. Please note that the compensation schedule are set forth in
most of the reports. Several of our experts have never testified and the reliance documents for Dr. Hrushesky are cited
in his report so he does not have a separate reliance list.

Very truly yours,

John A. Dalimonte, Esq.
Managing Partner
Licensed in MA and DC




75 State Street, Suite 100
Boston, MA 02109
Tel: 833‐443‐7529 ext. 104
Fax: 855‐203‐2035

www.drlawllp.com

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                                                            5
                  Case 3:18-cv-01063-JWD-EWD                                  Document 99-6                  04/27/22            Page 6 of 6




From: Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>
Sent: Wednesday, January 12, 2022 1:06 PM
To: John Dalimonte <john@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Michael Gallant
<michael.gallant@drlawllp.com>
Cc: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Subject: Service of expert reports



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John, John and Mike,

Depending on the time of day when you serve your reports on Friday, I may be out of pocket for a couple of hours
traveling. Can you please include Kathryn Podsiadlo, copied here, on any service of those materials?

Thanks,

Matt

_______________
Matthew Douglas
Partner

Arnold & Porter
1144 Fifteenth Street | Suite 3100
Denver, CO 80202‐2569
T: +1 303.863.2315
Matthew.Douglas@arnoldporter.com | www.arnoldporter.com



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